                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER


 UNITED STATES OF AMERICA                      )     MATTICE/CARTER
                                               )
        v.                                     )     CASE NO. 4:10-CR-28
                                               )
 JODY TUCKER                                   )


                                             ORDER

        On January 13, 2011, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to manufacture, distribute, and

 possess with the intent to distribute five (5) grams or more of methamphetamine (actual) and

 fifty (50) grams or more of a mixture and substance containing a detectable amount of

 methamphetamine, a Schedule II controlled substance, in violation of 21 USC §§ 846 and

 841(b)(1)(B), in exchange for the undertakings made by the government in the written plea

 agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in the lesser

 included offense in Count One of the Indictment; © that a decision on whether to accept the plea

 agreement be deferred until sentencing; and (d) Defendant shall remain on bond pending

 sentencing in this matter (Doc. 125). Neither party filed an objection within the given fourteen

 days. After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the

 Indictment, in exchange for the undertakings made by the government in the written plea



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 agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN ON BOND pending sentencing on Monday, April 18,

 2011, at 9:00 am.

        SO ORDERED.

        ENTER:


                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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